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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 22-MJ-02369

 UNITED STATES OF AMERICA,
 Plaintiff,

 vs.

 ENRIQUE TARRIO,
 Defendant.
 ______________________________/

       TEMPORARY NOTICE OF APPEARANCE AS CO-COUNSEL

       PLEASE TAKE NOTICE that the undersigned attorney, by his

 signature below, hereby enters his appearance as co-counsel on behalf of

 the Defendant, Enrique Tarrio, in the above-styled cause and as such,

 requests that the Clerk of Court forward any and all notices to the address

 below.

       I HEREBY CERTIFY that a true and correct copy of the foregoing

 was electronically noticed through the CM/ECF system to the US Attorney’s

 Office AUSA Erik Kenerson on this 10th day of March, 2022.

                                          Respectfully submitted,
                                          BY: /s/Sabino Jauregui, Esq.
                                          Attorney for Mr. Enrique Tarrio
                                          Florida Bar Number 503134
                                          1014 West 49 Street
                                          Hialeah, Florida 33012
                                          Phone 305-822-2901
